 Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.1 Page 1 of 36



 1 i
                                                                                   FILED
 2
         IAnton Ewing
          3077 B Clairemont Drive #372
                                                                                I Sep 272018
          San Diego, CA 92117                                                 CLERK, U.S. DISTRICT COURT
 3                                                                         SOUTHERN DISTRICT OF CALIFORNI
          (619) 719-9640                                                   BY         s/ jenniferm   DEPU   fv
 4        anton@antonewing.com

 5
          Plaintiffs in Pro Per
 6
 0
     !
     '

 '
 8

 9
                       THE UNITED STATES FEDERAL DISTRICT COURT
10
                               SOUTHER~        DISTRICT OF CALIFORNIA



13
          Anton Ewing, an individual,                  ) Civil Case No.     '18CV2247 CAB MOD
14                   Plaintiff,
                                                           COMPLAI~T
15
                 vs.
16   i;
            Encor Solar, LLC, a Utah limited                TCPA 47 USC ~227(b)(l)(A)
17                                                          TCPA 47 USC 227(c)(5)
            liability company;                              CIPA PC §637. and §637.2
18
            Daniel Larkin, an individual and officer        UCL B&P §17200
19          ofEncor Solar, LLC;
          ; Garrett Smith, an individual and
20
          i manager of Encor Solar, LLC;
21

22
          Sunrun. Inc., a Delaware corporation;

23   Bargain Electricity, Inc, a Florida
24 I corporation;                        )
" ~ei?~ldo A. Berges, aka Ray "\lonso, anl
  5
"    mdlvldual and officer of Bargam
          Electricity, Inc.
                              Defendants.              ~

          _____________________ )
                              PLA!l\TIFF'S COMPLAINT FOR VIOLATIONS Ul\'DER TCPA- 1

                                                                                                                 18CV
 Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.2 Page 2 of 36




           May it please the Court, Plaintiff Anton Ewing (herein "Plaintiff' or
2
     "Ewing"), for this complaint against Defendant Encor Solar, LLC and its present,
3

4    former and future direct and indirect parent companies, subsidiaries, affiliates and
5
     agents ("Encor Solar"), Daniel Larkin, an individual and officer ofEncor Solar,
6

7
     LLC ("Larkin"), Garrett Smith, an individual ("Smith"), Sunrun, Inc, a Delaware

8    corporation ("Sunrun"), Bargain Electricity, Inc, a Florida corporation ("Bargain"),
 9
     Reinaldo A. Berges, also known as Ray Alonso, an individual and officer of
10

11   Bargain Electricity, Inc. ("Berges"), alleges as follows:
12
                                     I.   INTRODUCTION
13

14
     1.    The TCPA causes of action (47 USC §227(b) and (c)) filed herein for, inter

15   alia, illegal telemarketing to Plaintiff's DNC registered cellular phone and home
16
     phone through the use of an ATDS is expressly alleged against Defendants Encor
17

18   Solar, LLC and its present, former and future direct and indirect parent companies,
19
     subsidiaries, affiliates and agents, Daniel Larkin, an individual and officer ofEnco
20

21
     Solar, LLC, Garrett Smith, an individual, Sunrun, Inc, a Delaware corporation,

22   Bargain Electricity, Inc, a Florida corporation ("Bargain"), and Reinaldo A.
23
     Berges, also known as Ray Alonso, an individual and officer of Bargain
24

2s   Electricity, Inc. ("Berges").

     2.     The CIPA cause of action (PC §§§632, 637.2, 632.7) filed herein for illegal

     recording of the telemarketing call to Plaintiff's phone without disclosure of the


                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 2
                                                                                            18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.3 Page 3 of 36




1    recording is alleged against Defendants Encor Solar, LLC and its present, former
2
     and future direct and indirect parent companies, subsidiaries, affiliates and agents,
3

4    Daniel Larkin, an individual and officer ofEncor Solar, LLC, Garrett Smith, an
5
     individual, Sunrun, Inc, a Delaware corporation, Bargain Electricity, Inc, a Florida
6

7
     corporation ("Bargain"), and Reinaldo A. Berges, also known as Ray Alonso, an

 8   individual and officer of Bargain Electricity, Inc. ("Berges").
 9
     3.      Nature of Action. Something is rotten in Utah and Florida, to wit: Encor
10

11   Solar, LLC and Bargain Electricity, Inc., working together and in concert, have
12
     been bombarding Mr. Ewing, without his consent, with autodialed and prerecorded
13

14
     calls ("robocalls") as well as "live-transfer" calls using an ATDS at defined by the

15   9th   Circuit in the Crunch case .. Mr. Ewing begged Encor Solar and Bargain
16
     Electricity, Inc to stop these illegal calls, but since then, Defendant Encor and its
17

18   hired and controlled agents have robocalled Plaintiff dozens more times. Mr.
19
     Ewing brings this action under the Telephone Consumer Protection Act, 47 U.S.C.
20

21
     § 227 ("TCPA"), in hopes that an injunction and damages will encourage Encor

22   Solar, Sunrun and Bargain Electricity to change their ways.
23
                                          II. PARTIES
24

25   4.       Plaintiff Anton Ewing is a citizen of California who conducts business in

     California, in this District.

     5.       Defendant Encor Solar, LLC is a limited liability company organized under



                        PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 3
                                                                                             18CV
 Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.4 Page 4 of 36




 1   the laws of the State of Utah with its principal place of business at 3401 North
2
     Thanksgiving Way, Suite 450, Lehi, Utah 84043. Encor Solar does business in this
3

4    District and throughout the United States.
5
     6.      Daniel Larkin is the president, CEO, Manager, Member, director, officer,
6

7    and alter ego of Encor Solar. Larkin does not respect the Encor formalities of

 8   entity operation and therefore he is not protected by its veil. Lark is a citizen of
9
     Utah.
10

11   7.      Garrett Smith, is an individual, employee and agent ofEncor Solar. During
12
     2018, Smith performed telemarketing activities by, for and on behalf ofEncor
13

14
     Solar at the direction and control of Larkin. Smith owns, controls and uses phone

15   number 805-490-5030 to engage in his scam telemarketing on behalf of his
16
     employer, Encor Solar. Smith is a citizen of California.
17

18   8.      Sunrun, Inc., is a Delaware corporation that has knowingly and intentionally
19
     hired, directed and ordered Larkin, Encor and Smith to obtain solar panel leads and
20

21
     appointments through telemarketing activities in violation of the TCPA, CIPA and

22   extortion laws of California. Sunrun is currently being sued in a TCP A class
23
     action in the Central District of California in 18cv-01207-JGB-SHK.
24

25   9.      Bargain Electricity, Inc, is a Florida corporation with offices at 2350 SW

     18'h Terrace, Fort Lauderdale, Florida 33315.

     10.     Reinaldo A. Berges, is also known as Ray Alonso in the telemarketing



                       PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA • 4
                                                                                            18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.5 Page 5 of 36




1    world, is the owner, officer, director and shareholder of Bargain Electricity, Inc.
2
     He runs Bargain as his alter ego and does not respect the form of the entity.
3

4                           III. JURISDICTION AND VENUE
5
     11.   Jurisdiction. This Court has federal-question subject matter jurisdiction over
6

7
     the Plaintiffs TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a

8    federal statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This
9
     Court has supplemental subject matter jurisdiction over the Plaintiffs' claim arising
10

11   under California's Unfair Competition Law ("UCL"), Cal. Bus. & Prof. Code §§
12
     17200 et seq., Civil Code §1770(a)(22)(A), and California Invasion of Privacy
13

14
     Act, Penal Code §637.2, §632.7 because those claims:

15             a. arises from the same nucleus of operative fact, i.e., Defendant's
16
                  telemarketing robocalls to Plaintiff;
17

18             b. adds little complexity to the case; and
19
               c. relies on the same nucleus offacts, so it's unlikely to predominate
20

21
                   over the TCPA claims.

22

23   12.    Personal Jurisdiction. This Court has personal jurisdiction over Encor Solar
24
     because a substantial part of the wrongful acts alleged in this Complaint were
25
     committed in California. For example, Encor Solar made illegal telemarketing

     robocalls to Mr. Ewing, while he was in California. Larkin, who is the officer,

     director, member and manager ofEncor, has also subjected himself to personal

                       PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 5
                                                                                             18CV
 Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.6 Page 6 of 36




 1
     jurisdiction in California because he is running said criminal operation. It is a
2
     crime to violate 47 USC §501 by violating 47 USC §227(b). Smith is a resident of
 3

4    San Diego. Sunrun is registered to do business in California and knowingly
 5
     directed Encor to engage in illegal telemarketing in violation of the TCPA.
 6

 7   Bargain initiated the primary telemarketing calls to Plaintiff and then sold,

 8   transferred and provided the lead to the other defendants in this matter in a
 9
     knowingly illegal manner.
10

11   13.    "Where, as here, there is no applicable federal statute governing personal
12
     jurisdiction, the district court applies the law of the state in which the district court
13

14
     sits." Yahoo! Inc. v. La Ligue Contre Le Racisme Et L'Antisemitisme, 433 F.3d

15   1199, 1205 (9th Cir. 2006); Panavision Intern., L.P. v. Toeppen, 141 F.3d 1316,
16
     1320 (9th Cir. 1998). "Because California's long-arm jurisdictional statute is
17

18   coextensive with federal due process requirements, the jurisdiction analyses under
19
     state law and federal due process are the same." Yahoo!, 433 F.3d at 1205 (citing
20

21
     Panavision, 141 F.3d at 1320). Due process requires that Defendants must have

22   minimum contacts with the forum such that the assertion of jurisdiction in that
23
     forum "'does not offend traditional notions of fair play and substantial justice."'
24

25   Pebble Beach Co. v. Caddy, 453 FJd 1151, 1155 (9th Cir. 2005) (quoting Int'l

     Shoe Co. v. Washington, 326 U.S. 310,315,66 S. Ct. 154,90 L. Ed. 95 (1945)).

     14.    There are two types of personal jurisdiction: general and specific. Daimler


                       PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 6
                                                                                                 18CV
 Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.7 Page 7 of 36




 1   AG v. Bauman, 134 S. Ct. 746,754-55, 187 L. Ed. 2d 624 (2014). "For general
2
     jurisdiction to exist over a nonresident defendant ... , the defendant must engage
 3

4    in 'continuous and systematic general business contacts,' that 'approximate physical
 5
     presence' in the forum state." Schwarzenegger v. Fred Martin Motor Co., 374 F.3d
6

7    797, 801 (9th Cir. 2004) (quoting Helicopteros Nacionales de Colombia, S.A. v.

 8   Hall, 466 U.S. 408,416, 104 S. Ct. 1868, 80 L. Ed. 2d 404 (1984); Bancroft &
 9
     Masters, Inc. v. Augusta Nat'!, Inc., 223 F.3d 1082, 1086 (9th Cir. 2000)) (internal
10

11   citations omitted). To establish specific jurisdiction, Plaintiff must show: "(1) [t]he
12
     non-resident defendant ... purposefully direct[ed] [its] activities or consummate[ d)
13

14
     some transaction with the forum or resident thereof; or perform some act by which

15   [it] purposefully avail[ ed] [itself] of the privilege of conducting activities in the
16
     forum, thereby invoking the benefits and protections of its laws; (2) the claim must
17

18   be one which arises out of or relates to the defendant's forum-related activities; and
19
     (3) the exercise of jurisdiction must comport with fair play and substantial justice,
20

21
     i.e. it must be reasonable." Id. at 802. At least two courts in the 9th have found

22   specific jurisdiction in circumstances similar to this case. One court found personal
23
     jurisdiction where the out-of-state defendant sent numerous unsolicited fax
24

25   advertisements to a California-based plaintiff. Global Commc'ns, Inc. v. Blue Jay,

     Inc., No. C 08-4254 PJH, 2009 U.S. Dist. LEXIS 1616,2009 WL 29905, at *2, 8-

     10 (N.D. Cal. Jan. 5, 2009). Another court found personal jurisdiction where the



                       PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA -7
                                                                                               18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.8 Page 8 of 36




     defendant operated a website that the California-plaintiff used, called and emailed
2
     the plaintiff numerous times, and the plaintiffs claims arose out of those contacts.
3

4    Heidorn v. BDD Mktg. & Mfg. Co., LLC, No. C-13-00229 JCS, 2013 U.S. Dist.
 5
     LEXIS 177166,2013 WL 6571629, at *8 (N.D. Cal. Aug. 19, 2013). Drew v.
6

 7   Lexington Consumer Advocacy, LLC, No. 16-cv-00200-LB, 2016 U.S. Dist.

 8   LEXIS 52385, at *4-7 (N.D. Cal. Apr. 18, 2016)
 9
     15.    Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(l)-
10

11   (2) because a substantial part of the events giving rise to the claims occurred in this
12
     District and because Defendant Smith resides in, i.e., is subject to personal
13

14
     jurisdiction in, this District. Moreover, Sunrun and Encor are registered with the

15   California Secretary of State and do substantial business in this District. Bargain
16
     has purposefully directed its activities to California and advertises that it does
17

18   business in California on its web page at www.bargainelectricty.com.
19
           IV. TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227
20

21
     16.    In 1991, Congress enacted the TCP A in response to a growing number of

22   consumer complaints regarding telemarketing.
23
     17.    The TCP A makes it unlawful "to make any call (other than a call made for
24

25   emergency purposes or made with the prior express consent of the called party)

     using an automatic telephone dialing system or an artificial or prerecorded voice ...

     to any telephone number assigned to a ... cellular telephone service." 47 U.S.C.



                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 8
                                                                                               18CV
 Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.9 Page 9 of 36




     §227(b)(l)(A)(iii).
2
     18.   The TCPA makes it unlawful "to initiate any telephone call to any
3

4    residential telephone line using an artificial or prerecorded voice to deliver a
5
     message without the prior express consent of the called party, unless the call is
 6

7    initiated for emergency purposes, is made solely pursuant to the collection of a

 8   debt owed to or guaranteed by the United States, or is exempted by rule or order"
9
     of the Federal Communication Commission ("FCC"). 47 U.S.C. § 227(b)(l)(B).
10

11   19.   The TCP A provides a private cause of action to persons who receive calls in
12
     violation of§ 227(b). 47 U.S.C. § 227(b)(3).
13

14
     20.   The TCPA makes it unlawful to make telemarketing solicitations to

15   telephone numbers on the National Do Not Call Registry. 47 U.S.C. § 227(c); 47
16
     C.P.R.§ 64.1200(c)(2).
17

18   21.   The TCPA provides a private cause of action to persons who receive calls in
19
     violation of§ 227(c). 47 U.S.C. § 227(c)(5).
20

21
     22.   According to findings of the FCC, the agency vested by Congress with

22   authority to issue regulations implementing the TCP A, automated or prerecorded
23
     telephone calls are a greater nuisance and invasion of privacy than live solicitation
24

25   calls and can be costly and inconvenient.

     23.    The FCC also recognizes that "wireless customers are charged for incoming

     calls whether they pay in advance or after the minutes are used." In re Rules and


                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 9
                                                                                             18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.10 Page 10 of 36




 1
     Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Red.
 2
     14014, 14115 ~ 165 (2003).
 3

 4   24.      The FCC requires "prior express written consent" for all autodialed or
 5
     prerecorded telemarketing robocalls to wireless numbers and residential lines. In
 6

 7
     particular:

 8
             [A] consumer's written consent to receive telemarketing robocalls
 9           must be signed and be sufficient to show that the consumer: (I)
             received clear and conspicuous disclosure of the consequences of
10
             providing the requested consent, i.e., that the consumer will receive
11           future calls that deliver prerecorded messages by or on behalf of a
12
             specific seller; and (2) having received this information, agrees
             unambiguously to receive such calls at a telephone number the
13           consumer designates. In addition, the written agreement must be
14           obtained without requiring, directly or indirectly, that the agreement
             be executed as a condition of purchasing any good or service. In the
15           Matter of Rules & Regulations Implementing the Tel. Consumer Prot.
16           Act of 1991, 27 FCC Red. 1830, 1844 ~ 33 (2012) (footnote and
             internal quotation marks omitted).
17

18   25.      FCC regulations "generally establish that the party on whose behalf a
19
     solicitation is made bears ultimate responsibility for any violations." In the Matter
20
21   of Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10

22   FCC Red. 12391, 12397 ~ 13 (1995).
23
     26.      The FCC confirmed this principle in 2013, when it explained that "a seller
24

25   ...   may be held vicariously liable under federal common law principles of agency

     for violations of either section 227(b) or section 227( c) that are committed by




                       PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 10
                                                                                             18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.11 Page 11 of 36




     third-party telemarketers." In the Matter of the Joint Petition Filed by Dish
2
     Network, LLC, 28 FCC Red. 6574, 6574 ~ 1 (2013).
3

4    27.   The 9th Circuit has defined an ATDS as follows: "we conclude that the
 5
     statutory definition of A TDS is not limited to devices with the capacity to call
 6

 7   numbers produced by a "random or sequential number generator," but also

 8   includes devices with the capacity to dial stored numbers automatically.
 9
     Accordingly, we read § 227(a)(l) to provide that the term automatic telephone
10

11   dialing system means equipment which has the capacity-( 1) to store numbers to
12
     be called or (2) to produce numbers to be called, using a random or sequential
13

14
     number generator-and to dial such numbers."

15   28.    Senator Fritz Hollings complained, "[c]omputerized calls are the scourge of
16
     modem civilization. They wake us up in the morning; they interrupt our dinner at
17

18   night; they force the sick and elderly out of bed; they hound us until we want to rip
19
     the telephone right out of the wall." 137 Cong. Rec. Sl6,205 (daily ed. Nov. 7,
20

21
     1991) (statement of Sen. Hollings). Recipients deemed that "automated telephone

22   calls that deliver an artificial or prerecorded voice message are more of a nuisance
23
     and a greater invasion of privacy than calls placed by 'live' persons." S. Rep. No.
24

25   102-178, at4.

     29.    The plausibility standard 'calls for enough fact to raise a reasonable

     expectation that discovery will reveal evidence' of the defendant's liability."



                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- II
                                                                                             18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.12 Page 12 of 36




 1
     Miyahira v. Vitacost.com, Inc., 715 F.3d 1257, 1265 (11th Cir. 2013) (quoting
2
     Twombly, 550 U.S. at 556). The Federal Communications Commission ("FCC")
3

4    which has authority to implement the TCPA's provisions, see 47 U.S.C. §
 5
     227(b )(2)- has stated that a plaintiff, to establish a TCPA violation, "need only
 6

 7   show that [the Defendant] called a number assigned to a cellular telephone service

 8   using an automatic dialing system or prerecorded voice." Breslow v. Wells Fargo
 9
     Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012). Because the Defendants
10

11   have violated multiple subsections of 47 U.S.C. §227, including but not limited to
12
     47 U.S.C. §227(b)(l)(A) and §227(c), then Defendants, and each of them, have
13

14
     committed the criminal violation of 47 U.S.C. §501.

15   30.   "[P]rior express consent is an affirmative defense, not an element of the
16
     claim," meaning a plaintiff "need not plead that he did not give his prior express
17

18   consent." Manfred v. Bennett Law, PLLC, No. 12-CV-61548, 2012 WL 6102071,
19
     at *2 (S.D. Fla. Dec. 7, 2012). Rather, "[t]he only thing [a] [p]laintiffmust plead
20

21
     to establish a violation of the TCPA is that the [d]efendants left voicemail

22   messages at a number assigned to a cellular telephone service using an automatic
23
     dialing system or an artificial or pre-recorded voice." Id. (denying motion to
24

25   dismiss for failure to state a claim where the plaintiff alleged "that [the]

     [d]efendants used an Automatic Telephone Dialing System or an artificial or pre-

     recorded voice to place the telephone calls to [the] [p ]laintiffs cellular phone.").



                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 12
                                                                                             18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.13 Page 13 of 36




     31.   Plaintiff Ewing alleges that Defendants placed repeated automated telephone
 2
     calls to Plaintiff Ewing's cell phone (619-719-9640) from Defendant's phones and
 3

 4   that the calls exhibited signs of being made with an Automated Telephone Dialing
 5
     System, including repeated telemarketing calls to Plaintiff Ewing within a period
 6

 7   of time and the presence of a pause or click (which is proven by the recording),
 8
     which is commonly associated with an Automated Telephone Dialing System
 9
     (ATDS). Those allegations are true and are sufficient to establish the elements of a
10

11   TCPA claim. Defendant Encor's telemarketing agent also admitted on the call that
12
     they used an ATDS to initiate the dialing of the call to Plaintiff Ewing.
13

14   32.   ABC, Inc (a Doe Defendant to be named after discovery reveals the same)

15   that was hired by Encor and Sunrun to knowingly and intentionally make robo-
16
     dialed calls to Plaintiff Ewing with a pre-recorded voice message that was used for
17

18   telemarketing purposes between June 1, 2017 and September 27,2018. ABC, Inc
19
     has subsequently made illegal telemarketing calls to Ewing and discovery may
20

21   very well lead to adding ABC, Inc as a defendant herein.

22   33.   California Civil Code section 1770(a)(22)(A) prohibits prerecorded
23
     telemarketing messages.
24

25   34.   As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA

     case regarding calls to a non-debtor similar to this one:

           The Telephone Consumer Protection Act.. .is well known for
           its provisions limiting junk-fax transmissions. A less-litigated

                     PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 13
                                                                                            ISCV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.14 Page 14 of 36




           part of the Act curtails the use of automated dialers and
 2         prerecorded messages to cell phones, whose subscribers often
           are billed by the minute as soon as the call is answered--and
 3
           routing a call to voicemail counts as answering the call. An
 4         automated call to a landline phone can be an annoyance; an
 5
           automated call to a cell phone adds expense to annoyance.
           Soppet v. Enhanced Recovery Co., LLC, 679 F. 3d 63 7, 638 (71h Cir. 201 2)
 6

 7   35.   As the CourtunanimouslyheldinHaines v. Kerner, 404 U.S. 519 (1972), a
 8
     pro se complaint, "however inartfully pleaded," must be held to "less stringent
 9
     standards than formal pleadings drafted by lawyers" and can only be dismissed for
10

11   failure to state a claim if it appears "'beyond doubt that the plaintiff can prove no
12
     set of facts in support ofhis claim which would entitle him to relief."' Id., at 520-
13

14   521, quoting Conley v. Gibson, 355 U.S. 41, 45-46 (1957)." Estelle v.

15   Gamble (1976) 429 U.S. 97, 106 [97 S.Ct. 285,292, 50 L.Ed.2d 251, 261].
16
                                         V.STANDING
17

18   36.    The court must evaluate lack of statutory standing under the Rule 12(b )(6)
19
     standard. Maya v. Centex Corp., 658 F.3d 1060, 1067 (9th Cir. 2011). However,
20
     because Plaintiffs are proceeding pro se, their complaint "must be held to less
21

22   stringent standards than formal pleadings drafted by lawyers" and must be
23
     "liberally construed." Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam)
24

25   (reaffirming standard reviewing prose complaints post-Twombly). The Ninth

     Circuit has concluded that the court's treatment of prose filings after Twombly and

     Iqbal remain the same and prose pleadings must continue to be liberally



                      PLAINTIFF"S COMPLAINT FOR VIOLATIONS UNDER TCPA- 14
                                                                                             18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.15 Page 15 of 36




     construed. Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010); see also McGowan
2
     v. Hulick, 612 F.3d 636, 640-42 (7th Cir. 2010); Bustos v. Martini Club Inc., 599
3

4    F.3d 458,461-62 (5th Cir. 2010); Harris v. Mills, 572 F.3d 66,71-72 (2d Cir.
5
     2009) (noting that even following Twombly and Iqbal, "we remain obligated to
6

7
     construe a pro se complaint liberally").

8    37.   Standing is proper under Article III of the Constitution of the United States
9
     of America because Plaintiff's claims state:
10

11         A. A valid injury in fact;
12
           B. which is traceable to the conduct of Defendants;
13

14
           C. and is likely to be redressed by a favorable judicial decision. See,

15             Spokeo, Inc. v. Robins, 578 U.S. __(2016) at 6, and Lujan v. Defenders
16
               of Wildlife, 504 U.S. 555 at 560. In order to meet the standard laid out in
17

18             Spokeo and Lujan, Plaintiffs must clearly allege facts demonstrating all
19
               three prongs above.
20

21
     The "Injury in Fact" Prong.

22   38.   Plaintiff's injury in fact, must be both "concrete" and "particularized" in
23
     order to satisfy the requirements of Article III of the Constitution, as laid out in
24

25   Spokeo (ld.). For an injury to be "concrete," it must be a de facto injury, meaning

     that it actually exists. In the present case, Plaintiff was called on his cellular phone

     at least thirteen (13) times by Defendants. In fact, Plaintiff expressly informed


                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 15
                                                                                                18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.16 Page 16 of 36




 1   Defendants to cease and desist from all future telemarketing on the very first call.
 2
     Such calls are a nuisance, an invasion of privacy, and an expense to Plaintiff in
 3

4    multiple ways. Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir.
 5
     2012). Defendant's invasion of Plaintiffs right to privacy is further exacerbated by
 6

 7   the fact that Plaintiffs phone number, at all times relevant to this litigation, was on

 8   the National Do-Not-Call Registry (hereinafter, "DNC Registry"). As well,
 9
     Plaintiff had no prior business relationship with Defendants prior to receiving the
10

11   seriously harassing and annoying calls as well as the extortionate threats by Larkin.
12
     All of Plaintiffs injuries are concrete and de facto. For an injury to be
13

14
     "particularized" means that the injury must "affect the plaintiff in a personal and

15   individual way." Spokeo, Inc. v. Robins, 135 S.Ct. 1540, 578 U.S._ (2016) at 14.
16
               In the instant case, it was Plaintiffs phone that was called and it was
17

18   Plaintiff who answered the calls. It was Plaintiff's personal privacy and peace that
19
     was invaded by Defendant's persistent phone calls using an ATDS and a pre-
20

21
     recoded message, despite Plaintiff having no prior business relationship with

22   Defendants and Plaintiffs attempt to avoid the damage by registering his number
23
     on the DNC Registry. Additionally, Plaintiff Ewing has a clear warning on each
24

25   and every page of his web domain that warns offenders that if you call, you will be

     sued. In fact, Ewing had to remove his own phone number from his web page

     several years ago (please go ahead and verify this on the waybackmachine 1) due
     1
         Exact copy of web page in 2015:

                            PLAJNTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 16
                                                                                               18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.17 Page 17 of 36




     the incessant, annoying and harassing calls by scam telemarketers like these
 2
     defendants. Moreover, a simple Google search of Ewing's phone number will
 3

 4   yield page after page of warnings that threaten a civil suit if you call. And, Ewing
 5
     has sent out hundreds of emails to TCP A defense attorneys nationwide warning
 6

 7   them that if their clients call Ewing's phone, they will be sued. Finally, Plaintiff is

 8   responsible to pay the bill on his cellular phone, and to pay the bill for the electric
 9
     utility company kilowatt-hour power usage to recharge it. All of these injuries are
10

II   particularized and specific to Plaintiff and will be the same injuries suffered by
12
     Plaintiff.
13

14
     The "Traceable to the Conduct of Defendants" Prong

15   39.      The second prong required to establish standing at the pleadings phase is
16
     that Plaintiff must allege facts to show that their injury is traceable to the conduct
17

18   of Defendants. In the instant case, this prong is met by the fact that the calls to
19
     Plaintiffs cellular phone and home phone (land line) were placed either by
20

21
     Defendants directly, or by Defendants' agent at the express direction and control o

22   Defendants. See Jones v. Royal Admin. Servs., 866 F. 3d II 00 (9th Cir. 20I7) ten
23
     factor test 2 from the 9th Circuit and Civil code §2307.
24

25
     https ://web.archive.org/web/20 1511 09045712/http ://www.antonewing.com:80/contact

     2 I) the control exe1ted by the employer. 2) whether the one employed is engaged in a distinct occupation, 3) whether the work
     is normally done- under the supervision of an employer, 4) the skill required, 5) whether the .;mployer supplies tools and
     instrumental itie~ [.and the place of \VOrk"]. 6) the length of time employed, 7) whether paym~nt is by time or by the job, 8)
     vvbether the work is in the regular business of the ~mployer, 9) the subjective intent of the parties. and 10) whether the
     employer is 1Jr is not in busines~.



                             PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 17
                                                                                                                                      18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.18 Page 18 of 36




     The "Injury is Likely to be Redressed by a Favorable Judicial Opinion"
2
     Prong
 3

4    40.   The third prong to establish standing at the pleadings phase requires Plaintif
 5
     to allege facts to show that the injury is likely to be redressed by a favorable
 6

 7   judicial opinion. In the present case, Plaintiffs Prayers for Relief includes a

 8   request for damages for each call made by Defendants, as authorized by statute in
 9
     47 U.S.C. § 227. The statutory damages were set by Congress and specifically
10

11   redress the financial damages suffered by Plaintiff. Furthermore, Plaintiffs
12
     Prayers for Relief request injunctive relief to restrain Defendants from the alleged
13

14
     abusive practices in the future. The award of monetary damages and the order for

15   injunctive relief redress the injuries of the past and prevent further injury in the
16
     future. Because all standing requirements of Article III of the U.S. Constitution
17

18   have been met, as laid out in Spokeo, Inc. v. Robins, 578 U.S._ (2016), Plaintiff
19
     has standing to sue Defendants on the stated claims.
20

21
     41.     " ... [C]ourts in the Ninth Circuit have held that "allegations of nuisance and

22   invasions of privacy in TCP A actions are concrete" injuries that establish standing.
23
     See Mbazomo v. ETourandtravel, Inc., 16-CV-2229-SB, 2016 U.S. Dist. LEXIS
24

25   170186,2016 WL 7165693, at *2 (E.D. Cal. Dec. 8, 2016). InMbazamo, the court

     held that a violation of the TCPA represents a concrete injury because "[t]he

     history of sustaining claims against both unwelcome intrusion into a plaintiffs


                       PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 18
                                                                                               18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.19 Page 19 of 36




     seclusion and unceasing debt-collector harassment are squarely 'harm[s] that [have]
 2
     traditionally been regarded as providing a basis for a lawsuit."' Mbazomo, 2016
 3

 4   U.S. Dist. LEXIS 170186,2016 WL 7165693, at *2 (quoting Spokeo, 136 S.Ct. at
 5
     1549-50). The court declined to follow Romero, explaining that Romero
 6

 7
     "improperly erodes the pleading standard set under Fed. R. Civ. P. 8(a) .... A

 8   plaintiff [need only] plausibly tie the alleged acts of the defendant to the alleged
 9
     harms suffered." Id. Messerlian v. Rentokil N. Am., Inc. (C.D.Cal. Dec. 15, 2016,
10

11   No. CV 16-6941-GW (GJSx)) 2016 U.S.Dist.LEXIS 175224, at *7-8.
12
     42.    "To establish injury in fact, a plaintiff must show that he or she suffered 'an
13

14
     invasion of a legally protected interest' that is 'concrete and particularized' and

15   'actual or imminent, not conjectural or hypothetical."' Spokeo. at 1548 (quoting
16
     Lujan, 504 U.S. at 560). The Supreme Court noted that concreteness is quite
17

18   distinct from particularization. !d. An injury is "particularized" if it affects "the
19
     plaintiff in a personal and individual way." I d. In addition, for an injury to be
20

21
     "concrete", it must be "de facto," meaning that it is "real" and not "abstract." !d.

22   However, an injury need not be "tangible" in order to be "concrete," and intangible
23
     injuries may constitute injury in fact./d. at 1549. In order to determine whether an
24

25   intangible harm constitutes injury in fact, Spokeo provided two factors to be

     considered: "history and the judgment of Congress." !d. at 1549. Specifically, "(1)

     whether the statutory violation bears a 'close relationship to a harm that has



                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 19
                                                                                              18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.20 Page 20 of 36




 1
     traditionally been regarded as providing a basis for a lawsuit in English or
 2
     American courts,' and (2) congressional judgment in establishing the statutory
 3

 4   right, including whether the statutory right is substantive or procedural." Matera v.
 5
     Google, No. 15cv 4062-LHK, 2016 WL 5339806, at *9 (N.D. Cal. Sept. 23, 2016).
 6

 7   Spokeo also held that "the violation of a procedural right granted by statute can be
 8
     sufficient in some circumstances to constitute injury in fact." Spokeo, 136 S. Ct. at
 9
     1549. In such a case, a plaintiff"need not allege any additional harm beyond the
10

II   one [the legislature] has identified." !d.
12
     4 3.   The TCP A provides a private right of action for violations of § 22 7 (b) and
13

14   the associated regulations. 47 U.S. C.§ 227(b)(3). Subsection (b) prohibits calls

15   (other than for an emergency) to a telephone number assigned to a cellphone by
16
     way of an automatic telephone dialing system ("ATDS") without the prior express
17

18   consent of the called party. 47 U.S.C. § 227(b)(l)(A)(iii). In the Ninth Circuit, a
19
     plaintiff must show: (1) "the defendant called a cellular telephone number; (2)
20

21
     "using an automatic telephone dialing system; (3) without the recipient's prior

22   express consent." Meyer v. Portfolio Recovery Assocs., LLC, 707 F.3d 1036, 1043
23
     (9th Cir. 2012). A plaintiff must also be a "called party" within the definition of
24

25   the TCPA. Charkchyan v. EZ Capital, No. 2:14-cv-03564-0DW (ASx), 2015 U.S.

     Dist. LEXIS 76560, 2015 WL 3660315, at *3 (C.D. Cal. June 11, 2015)




                      PLAINTIFF"S COMPLAINT FOR VIOLATIONS UNDER TCPA- 20
                                                                                             18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.21 Page 21 of 36




     44.    First, a text message and a prerecorded robotic voice message call are both a
2
     "call" for purposes of the TCPA. Satterfield v. Simon & Schuster, Inc., 569 F.3d
3

4    946, 952-54 (9th Cir. 2009). Plaintiff supports these allegations with activity logs
 5
     from July 2017 to September 2018 documenting the 13 calls. This element is
 6

 7
     satisfied.

 8   45.    Second, Plaintiff adequately pleads use of an automatic telephone dialing
 9
     system ("ATDS"). The TCPA defines ATDS to mean "equipment which has the
10

11   capacity- (A) to store or produce telephone numbers to be called, using a random
12
     or sequential number generator; and (B) to dial such numbers." 47 U.S.C. §
13

14
     227(a)(l). The focus of the inquiry is on the equipment's capacity to perform this

15   function. See Satterfield, 569 F.3d at 951. "Accordingly, a system need not
16
     actually store, produce, or call randomly or sequentially generated telephone
17

18   numbers, it need only have the capacity to do it." Id. Defendants called with a
19
     prerecorded message, which, by definition requires an auto-dialer that operates
20

21
     without human intervention.

22   46.    "In proving a defendant's use of [an] ATDS under the TCP A, courts have
23
     recognized the difficulty a plaintiff faces in knowing the type of calling system the
24

25   defendant used without the benefit of discovery." Charkchyan, 2015 U.S. Dist.

     LEXIS 76560, 2015 WL 3660315 at *3. For example, in Charkchyan, the

     plaintiffs allegations supported the use of an ATDS. Id. In that case, the plaintiff



                      PLAINTIFF'S COMPLArNT FOR VIOLATIONS UNDER TCPA- 21
                                                                                             18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.22 Page 22 of 36




     described the messages received "as being formatted in SMS short code, '670-76,"'
 2
     and as being impersonally scripted. Id. This was enough to establish the defendant
 3

 4   used an ATDS.Id. Similarly, in Kramer v. Autobytel, the plaintiff alleged
 5
     sufficient facts to support a reasonable inference that the defendants used an
 6

 7
     ATDS: "[The plaintiff] described the messages from SMS short code 77893, a

 8   code registered to [a defendant]. The messages were advertisements written in an
 9
     impersonal manner. [And,] [the plaintiff] had no other reason to be in contact with
10

II   the Defendants." 759 F. Supp. 2d 1165, 1171 (N.D. Cal. 2010). In contrast, the
12
     plaintiff in Williams v. T-Mobile USA, Inc. failed to plead more than "legal
13

14
     conclusions couched in fact" when asserting the "barrage of calls and ...

15   frequency and pattern of the calls provide[ d) the necessary factual support." No.
16
     15-cv-3384-JSW, 2015 U.S. Dist. LEXIS 140077, 2015 WL 5962270, at *2-3
17

18   (N.D. Cal. Oct. 14, 2015). See also Daniels v. Com Unity Lending, Inc., No.
19
     13cv488-WQH-JMA, 2014 U.S. Dist. LEXIS 1606, 2014 WL 51275, at *5 (S.D.
20

21
     Cal. Jan. 6, 2014) (ATDS use not plausible because the allegations indicated the

22   defendants directed calls specifically towards the plaintiff).
23
     4 7.   Here, Plaintiff alleges that Defendants contacted him using a "telephone
24

25   dialing system." This is insufficient standing alone, but as in Charkchyan and

     Kramer, Plaintiff alleges sufficient additional facts. First, each of the calls are

     available to the Court as audio recordings of the robotic voice message that



                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 22
                                                                                           18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.23 Page 23 of 36




     initiated the calls. Second, the calls are impersonal advertisements: they do not
2
     address Plaintiff personally and they advertise Defendant's product. Third, Plaintif
3

4    declares that he has never heard of Defendants, visited any location operated by
5
     Defendants prior to the harassing and annoying calls, nor provided his cellular
6

7    telephone numbers to Defendants or consented to receive calls from Defendants.

 8   Plaintiff also has had no prior business relationship with Defendants. Plaintiffs ha
 9
     no reason to be in contact with Defendants nor have they ever purchased any kind
10

11   of product or service. Plaintiffs allegations are sufficient to establish that
12
     Defendants used A TDS in sending their prerecorded solicitation messages.
13

14
     48.   Third, Plaintiff adequately pleads that the conduct was without his prior

15   express consent. "Prior express consent" under the TCPA is "consent that is clearly
16
     and unmistakably stated." Satterfield, 569 F.3d at 955; Charkchyan, 2015 U.S.
17

18   Dist. LEXIS 76560, 2015 WL 3660315 at *3. Moreover, "[t]he Federal
19
     Communications Commission ('FCC'), tasked with instituting implementing
20

21
     regulations for the TCP A, added an express written consent requirement in the case

22   of messages that 'include[] or introduce[] an advertisement or constitute[]
23
     telemarketing."' Meyer v. Bebe Stores, Inc., No. 14-cv-00267-YGR, 2015 U.S.
24

25   Dist. LEXIS 12060, 2015 WL 431148, at *3 (N.D. Cal. Feb. 2, 2015) (citing 47

     C.P.R. § 64.1200(a)(2)). An "advertisement" includes "any material advertising

     the commercial availability or quality of any property, goods, or services." 47



                      PLAINTIFF"S COMPLAINT FOR VIOLATIONS UNDER TCPA- 23
                                                                                            18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.24 Page 24 of 36




     C.P.R. § 64.1200(±)(1). "Telemarketing" means the initiation of a telephone call or
2
     message for the purpose of encouraging the purchase or rental of, or investment in,
3

4    property, goods, or services, which is transmitted to any person." !d. §
5
     64.1200(±)(12). Establishing prior express consent of the called party "is an
6

 7   affirmative defense for which the defendant bears the burden of proof."

 8   Charkchyan, 2015 U.S. Dist. LEXIS 76560, 2015 WL 3660315 at *3.
 9
     49.   In Charkchyan, the plaintiff did not give prior express consent. !d. There, the
10

11   plaintiff claimed: "(I) he [was] the current subscriber to the cellular telephone at
12
     issue; (2) he [had] never heard of [the defendant]; (3) he [had] never visited any
13

14
     location operated by [the defendant]; and (4) he [had] never provided his cellular

15   number to [the defendant], nor consented to receiving calls from [the
16
     defendant]." !d. Where the defendant failed to provide any conflicting evidence,
17

18   this was sufficient. !d.
19
     50.    Similarly, in Plaintiff's case, the allegations establish that he did not give
20

21
     prior express consent. He declared that he was "the regular user and subscriber to

22   the cellular telephone number at issue." He also declared that he has "never heard
23
     of [Defendants], visited any location operated by [Defendants], provided [his]
24

25   cellular telephone number to [Defendants,] or consented to receive text messages

     from [Defendants]." As in Charkchyan, these allegations are sufficient to support

     Plaintiff's claims that he did not give prior express consent authorizing Defendants



                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 24
                                                                                             18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.25 Page 25 of 36




 1   to send the prerecorded messages. Furthermore, the calls promote the sender's
2
     illegal solar panel business and fall within the FCC's definition of an advertisement
3

4    and/or telemarketing. Thus, express written consent was required, and there is no
 5
     evidence of such. This element is consequently satisfied.
 6

 7
     51.   Fourth, Plaintiff sufficiently pleads that he was the "called party." To have

 8   standing under the TCPA, a plaintiff must be the "called party." See Charkchyan,
 9
     2015 U.S. Dist. LEXIS 76560,2015 WL 3660315 at *3, *4; 47 U.S.C. §
10

11   227(b)(l)(A). A telephone service subscriber is the "called party" within the
12
     meaning of the TCPA. Charkchyan, 2015 U.S. Dist. LEXIS 76560,2015 WL
13

14
     3660315 at *3; Gutierrez v. Barclays Group, No. 10cvl012 DMS (BGS), 2011

15   U.S. Dist. LEXIS 12546, 2011 WL 579238, at *4 (S.D. Cal. Feb. 9, 2011). Here,
16
     Plaintiff declares that he was "the regular user and subscriber to the cellular phone
17

18   number" that received the calls and messages. Plaintiff is therefore the "called
19
     party." See Charkchyan, 2015 U.S. Dist. LEXIS 76560, 2015 WL 3660315 at *3.
20

21
     Drew v. Defendants Consumer Advocacy, LLC, No. 16-cv-00200-LB, 2016 U.S.

22   Dist. LEXIS 52385, at *11-16 (N.D. Cal. Apr. 18, 2016)
23

24

25




                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 25
                                                                                             18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.26 Page 26 of 36




                               VI. FACTUAL ALLEGATIONS
 2
     A. Encor Solar, LLC
 3

 4   52.   One ofEncor Solar's strategies for marketing its services is placing
 5
     telemarketing robocalls to those who have not consented to receive such
 6

 7
     solicitations, including Plaintiff.

 8   53.   On information and belief, Encor Solar uses equipment that has the capacity
 9
     to store or produce random or sequential telephone numbers to be called and that
10

11   includes autodialers and predictive dialers (each an "automatic telephone dialing
12
     system" or "ATDS").
13

14
     54.   Bargain sold leads to Encor and Smith, and Encor is the marketing agent for

15   Sunnm. Bargain knowingly advertises for Sunnm. Each Defendant knows of and
16
     in aware of each of the other Defendant's duties, responsibilities and function
17

18   within the telemarketing operation. Each Defendant is a co-conspirator with each
19
     other Defendant in this matter. They all know each other, they all talk to
20

21
     eachother. They have all designed, planned and orchestrated the telemarketing

22   scheme and scam together.
23
     B. Plaintiff
24

25   55.    Plaintiff Anton Ewing is, and at all times mentioned herein was, a "person"

     as defined by 47 U.S.C. § 153(39).

     C. Telephone numbers 619-719-9640 and 619-987-2016


                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 26
                                                                                          18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.27 Page 27 of 36




     56.   A phone number beginning 619-719-9640 and 619-987-2016 is registered to
2
     Mr. Ewing.
 3

4    57.   619-719-9640 and 619-987-2016 are on the National Do Not Call Registry.
 5
     58.   619-987-2016 is registered to a residential telephone service.
 6

 7   59.   Mr. Ewing answers calls made to 619-719-9640 and 619-987-2016.

 8   60.   Mr. Ewing pays the phone bills for 619-719-9640 and 619-987-2016.
 9
     F. Encor Solar's Illegal Telemarketing Robocalls to Plaintiff
10

11   61.   On September 26,2018, a call to 619-719-9640, which is Mr. Ewing his
12
     cellular telephone, caused his cell phone to ring. Mr. Ewing picked up. The person
13

14
     on the other end wasn't anyone Mr. Ewing knew. In fact, it wasn't a person at all;

15   it was a prerecorded voice. The voice advertised solar panels from Sunrun, Inc. It
16
     was not until Smith showed up at the designated property that Smith confessed that
17

18   he was employed by Encor and provide a business card showing that he in fact was
19
     an employee ofEncro.
20

21
     62.   Plaintiff has never heard of Bargain, Sunrun or Encor and had not given

22   them permission to call him, let alone with a telemarketing robocall. Mr. Ewing
23
     was surprised and frustrated to be interrupted by a prerecorded solicitation to a
24

25   phone number that had long been on the National Do No Call Registry.

     Previously, in March of2018, a call to 619-719-9640 caused Mr. Ewing's cell




                     PLAINTIFF"S COMPLAINT FOR VIOLATIONS UNDER TCPA- 27
                                                                                          18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.28 Page 28 of 36




     phone to ring again. Again it was a prerecorded voice, again advertising solar
2
     panels, again from Sunrun.
3

4    63.   It didn't stop there. Encor Solar placed at least 13 telemarketing robocalls
 5
     to Mr. Ewing. The initial call on September 26,2018 came from 619-824-3342
 6

 7   which turns out to be a totally spoofed phone number. The agent on the phone said

 8   he was with the San Diego Energy Center. The agent said his name was Andrew
 9
     on the second call and he said that Garrett Smith would be coming out to the
10

11   property for the solar panel consultation. Andrew stated he was with Sunrun
12
     headquartered in San Fraincisco.
13

14
     64.   Most of these robocalls used a prerecorded or artificial voice, while the rest

15   were marked by an unnatural click or pause at the beginning-signaling to Mr.
16
     Ewing that the call was placed by an ATDS rather than manually dialed by a
17

18   person.
19
     65.    More than a dozen ofEncor Solar's telemarketing robocalls were made to
20

21
     Mr. Ewing while he was in California, in this District.

22   66.    More than a dozen ofEncor Solar's telemarketing robocalls were made to
23
     Mr. Ewing after Encor Solar knew of his desire to never been solicited via
24

25   telemarketing calls, which is publicly known in this District.

     67.    Mr. Ewing repeatedly asked Encor Solar to stop calling.




                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA • 28
                                                                                            !8CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.29 Page 29 of 36




     68.      Due to the massive volume of robocalls made by Defendant Encor to him,
 2
     Plaintiffs' investigation into the calls and their illegal features (e.g., prerecorded
 3

 4   voices and placement by an ATDS, as manifested by beginning with an unnatural
 5
     click or pause) is ongoing. Based on what is known to Plaintiff so far, the
 6

 7   following table summarizes some of the non-emergency telemarketing robocalls

 8
     placed by Encor Solar to Plaintiff:
 9
                               VU. FIRST CLAIM FOR RELIEF
10

II         (Non-Emergency Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(l)(A))

12   69.     Plaintiffs reallege and incorporate by reference each and every allegation set
13
     forth in the preceding paragraphs.
14

IS   70.     The foregoing acts and omissions ofEncor Solar and/or its affiliates or
16
     agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by
17

18   making non-emergency telemarketing robocalls to the cellular telephone numbers

19   of Plaintiffs without prior express written consent.
20
     71.      Sunrun, Smith, Larkin, Berges and Bargain are affiliates and agents of
21

22   Encor.
23
     72.     Each named defendant in this matter is vicariously liable for the acts and
24

25   actions of each of the other named defendants under the Gomez case from the US

     Supreme Court handed down on January 20, 2016.




                       PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 29
                                                                                              18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.30 Page 30 of 36




     73.      Plaintiff is entitled to an award of at least $500 in damages for each such
 2
     violation. 47 U.S.C. § 227(b)(3)(B).
 3

 4   74.      Plaintiff is entitled to an award of up to $1,500 in damages for each such
 5
     knowing or willful violation. 47 U.S.C. § 227(b )(3).
 6

 7   75.      Plaintiff also seek a permanent injunction prohibiting Encor Solar and its
 8
     affiliates and agents from making non-emergency telemarketing robocalls to
 9
     cellular telephone numbers without prior express written consent of the called
10

11   party.
12
                              VIII. SECOND CLAIM FOR RELIEF
13
       (Non-Emergency Robocalls to Residential Telephones, 47 U.S.C. § 227(b)(l)(B))
14

15   76.      Mr. Ewing realleges and incorporates by reference each and every allegation
16
     set forth in the preceding paragraphs.
17

18
     77.      The foregoing acts and omissions ofEncor Solar and/or its affiliates or

19   agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(l)(B), by
20
     making non-emergency prerecorded telemarketing calls to the residential telephone
21

22   619-987-2016 number ofMr. Ewing without prior express written consent.
23
     78.      Sunrun, Smith, Larkin, Berges and Bargain are affiliates and agents of
24

25
     Encor.

     79.      Mr. Ewing is entitled to an award of at least $500 in damages for each such

     violation. 47 U.S.C. § 227(b)(3)(B).



                        PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 30
                                                                                            18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.31 Page 31 of 36




     80.      Mr. Ewing is entitled to an award of up to $1,500 in damages for each such
 2
     knowing or willful violation. 47 U.S.C. § 227(b)(3).
 3

 4   81.      Mr. Ewing also seeks a permanent injunction prohibiting Encor Solar and its
 5
     affiliates and agents from making non-emergency prerecorded telemarketing calls
 6

 7   to residential telephone numbers without prior express written consent of the called

 8   party.
 9
                                IX. THIRD CLAIM FOR RELIEF
10

II   (Telemarketing Solicitations to National Do Not Call Registrants, 47 U.S.C. § 227(c))

 2
1    82.      Plaintiffs reallege and incorporate by reference each and every allegation set
13
     forth in the preceding paragraphs.
14

15   83.      The foregoing acts and omissions ofEncor Solar and/or its affiliates or
16
     agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(c), by making
17

18   telemarketing solicitations to residential and wireless telephone numbers listed on

19   the Federal Government's National Do Not Call Registry. 47 C.F.R.
20
     §64.1200(c)(2).
21

22   84.      Sunrun, Smith, Larkin, Berges and Bargain are affiliates and agents of
23
     Encor.
24

25
     85.      Plaintiff is entitled to an award of at least $500 in damages for each such

     violation. 47 U.S.C. § 227(c)(5)(B).




                       PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 31
                                                                                               18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.32 Page 32 of 36




     86.   Plaintiff is entitled to an award of up to $1,500 in damages for each such
2
     knowing or willful violation. 47 U.S.C. § 227(c)(5).
3

4    87.   Plaintiff also seeks a permanent injunction prohibiting Encor Solar and its
5
     affiliates and agents from making telemarketing solicitations to residential and
 6

 7   wireless telephone numbers listed on the Federal Government's National Do Not

 8   Call Registry.
 9
                             X. FOURTH CLAIM FOR RELIEF
10

11              (Unfair Competition, Cal. Bus. & Prof. Code§§ 17200 et seq.)

12   88.   Plaintiffrealleges and incorporates by reference each and every allegation
13
     set forth in the preceding paragraphs.
14

15   89.   Encor Solar's TCPA violations targeted consumers and businesses in the
16
     State of California, including Plaintiffs, in violation of the "unlawful" prong of the
17

18
     UCL. O'Connorv.Lyft, Inc., No. 16-cv-00351-JSW, 2016 U.S. Dist. LEXIS

19   153705, at *14- 15 (N.D. Cal. Apr.l4, 2016).
20
     90.   Additionally, Encor Solar's misconduct violated the "unfair" prong of the
21

22   UCL. It was unfair for Mr. Ewing's private life and business affairs to be
23
     interrupted by prerecorded telemarketing calls dozens of times, like a nightmare
24

25
     from which he could not awake. It was unfair that these robocalls kept pouring in

     even after Mr. Ewing's objections to them. It was unfair that Defendant's conduct

     distracted Plaintiff from serving his customers: California consumers. It was unfair



                      PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 32
                                                                                              18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.33 Page 33 of 36




 1   that Plaintiff had to endure these nuisances despite having gone to the trouble of
2
     registering his numbers with the National Do Not Call Registry precisely to avoid
3

4    such invasions of his privacy. Given that the unfair prong of the UCL "is
5
     intentionally broad, thus allowing courts maximum discretion," State Farm Fire &
6

7
     Casualty Co. v. Superior Court, 45 Cal. App. 4th 1093, 1103 (2d Dist. 1996),

 8   Encor Solar's harassment would have violated the UCL even in the absence of the
 9
     TCPA.
10

11   91.     Plaintiff seeks a permanent injunction prohibiting Encor Solar and its
12
     affiliates and agents from continuing to violate the UCL by making unsolicited
13

14
     telemarketing robocalls to consumers and businesses in the State of California.

15   92.      Larkin also sent two written emails to Plaintiff on or about September 26,
16
     2018, each of which contained an extortionate threat under Penal Code section 519
17

18   and 523. Plaintiff will amend this Complaint when discovery allows and more
19
     facts are gathered to fully establish a cause of action for civil extortion by Larkin
20

21
     against Plaintiff. Larkin is hereby put on notice of this intended claim.

22                                XI. PRAYER FOR RELIEF
23
     WHEREFORE, Plaintiff prays for judgment against all Defendants, jointly and
24

25   severally, as follows:

           A. Leave to amend this Complaint to conform to the evidence presented at trial;




                        PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 33
                                                                                             18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.34 Page 34 of 36




      B. A declaration that actions complained of herein by Encor Solar, Larkin,
 2
            Smith and Sunrun violate the TCP A, CIP A and the UCL;
 3

 4    C. An order enjoining Encor Solar, Larkin, Smith and Sunrun and its affiliates
 5
            and agents from engaging in the unlawful conduct set forth herein,
 6

 7          including violation of 47 USC §501;

 8
      D. An award to Plaintiff of damages, as allowed by law under the TCPA, and
 9
            not limited to the calls listed in the preliminary table above;
10

11    E. For statutory damages in the amount of $5,000 per violation pursuant to
12
            California Penal Code §637.2(a)(l) or, if greater, three times actual
13

14          damages as provided in California Penal Code §637.2(a)(2);

15
      F. $500 plus threefold damages for intentional or willful violation of the Do-
16
            Not-Call Registry for each and every call;
17

18    G. For punitive damages in an amount to be determined with exactness at trial
19
            herein;
20

21    H. For a preliminary and permanent injunction to restrain further violations of

22          the CIPA, pursuant to California Penal Code §637.2(b);
23
      I. For the payment of reasonable attorneys' fees and costs of suit incurred
24

25          herein under all applicable statutes and rules including under Cal. Civ.

            Pro c. Code § 1021.5 for attorneys that have been or will be hired;




                   PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 34
                                                                                        18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.35 Page 35 of 36




       J. For an injunction prohibiting all Defendants from ever contacting Plaintiff
 2
             ever again in any manner whatsoever, including spam texting,
 3

 4           robodialing, and spam emailing;
 5
       K. $1,500 for each violation of 16 CFR §610.4(b)(iii)(B) initiating a call to a
 6

 7           DNC registered number;

 8
       L. $1,500 for each violation of47 CFR §64.1601(3) caller ID spoofing;
 9
       M. $1,500 for each violation of 47 CFR §64.1200(d)(1) failure to provide copy
10

11           of written do not call policy;
12
       N. $1,500 for each violation of 47 CFR §64.1200(b)(1) failure to state name of
13

14           business at beginning of call;

15
       0. $1,500 for each violation of 47 USC §227(b)(l)(A)(iii) willful or knowing
16
             call to cellular phone;
17

18     P. $1,500 for each violation of 47 USC §227(b)(1) for using an ATDS;
19
       Q. $1,500 for each violation of 47 USC §227(c) and (d) for calling a phone
20

21           number on the DNC registry; and

22
       R. For any other relief that the Court deems just and proper.
23
                                XI. DEMAND FOR JURY
24

25

     Dated: September 27, 2018




                    PLAINTIFF'S COMPLAINT FOR VIOLATIONS UNDER TCPA- 35

                                                                                         18CV
Case 3:18-cv-02247-CAB-MDD Document 1 Filed 09/27/18 PageID.36 Page 36 of 36




               DUPLICATE
               Court Name: USDC California Southern
               Division: 3
               Receipt Number: CAS104948
               Cashier ID: cdelgado
               Transaction Date: 09/27/2018
               Payer Name: ANTON EWING
               CIVIL FILING FEE
                For: ANTON EWING
                Case/Party: D-CAS-3-18-CV-002247-001
                Amount:         $400.00
               CASH
                Amt Tendered: $400.00
               Total Due:      $400.00
               Total Tendered: $400.00
               Change Amt:     $0.00


               There will be a fee of $53.00
               charged for any returned check.
